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                                                                          United States District Court
                                                                            Southern District of Texas

                                                                               ENTERED
                                                                            February 07, 2022
                         UNITED STATES DISTRICT COURT
                                                                            Nathan Ochsner, Clerk
                          SOUTHERN DISTRICT OF TEXAS
                              MCALLEN DIVISION

THE TEXAS GENERAL LAND OFFICE;                §
and GEORGE P. BUSH, in his official           §
capacity as Commissioner of the Texas         §
General Land Office,                          §
                                              §
        Plaintiffs,                           §
                                              §
VS.                                           §
                                              §
JOSEPH R. BIDEN, in his official capacity §       CIVIL ACTION NO. 7:21-cv-00272
as President of the United States of          §
America; UNITED STATES                        §
DEPARTMENT OF HOMELAND                        §
SECURITY; and ALEJANDRO                       §
MAYORKAS, in his official capacity as         §
Secretary of the United States Department §
of Homeland Security,                         §
                                              §
        Defendants.                           §
THE STATE OF MISSOURI; and THE                §
STATE OF TEXAS,                               §
                                              §
        Plaintiffs,                           §
                                              §
VS.                                           §
                                              §
JOSEPH R. BIDEN, JR., in his official         §
capacity as President of the United States of §   CIVIL ACTION NO. 7:21-cv-00420
America; THE UNITED STATES OF                 §
AMERICA; ALEJANDRO MAYORKAS, §                    (Formerly
in his official capacity as Secretary of the §    CIVIL ACTION NO. 6:21-cv-00052)
United States Department of Homeland          §
Security; UNITED STATES                       §
DEPARTMENT OF HOMELAND                        §
SECURITY; TROY A. MILLER, in his              §
official capacity as the Acting               §
Commissioner of United States Customs         §
and Border Protection; and UNITED             §
                                              §


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STATES CUSTOMS AND BORDER                               §
PROTECTION,                                             §
                                                        §
        Defendants.                                     §

                                                   ORDER

        The Court now considers the “Unopposed Motion of Immigration Reform Law Institute

for Leave to File a Brief as Amicus Curiae in Opposition to the Defendants’Motion [sic] to Dismiss

the GLO Plaintiffs’ Amended Complaint.”1 Because the motion is unopposed, the Court considers

it as soon as practicable.2

        Because no statute or controlling precedent governs whether the district court permits an

interested party to file an amicus brief, whether to grant leave is wholly within this Court’s

discretion.3 The Court may look to Federal Rule of Appellate Procedure 29 and its caselaw for

guidance.4 In general, an amicus curiae must indicate the amicus’s interest and state “the reason

why an amicus brief is desirable and why the matters asserted are relevant to the disposition of the

case.”5 “The [amicus] brief should avoid the repetition of facts or legal arguments contained in the

principal brief and should focus on points either not made or not adequately discussed in those

briefs.”6 “Even when the other side refuses to consent to an amicus filing, most courts of appeals

freely grant leave to file, provided the brief is timely and well-reasoned, and adds value or

additional analysis or perspectives.”7 “The role of amici is to help in this process” of reaching the

correct legal disposition “by elaborating upon arguments made by the parties and presenting



1
  Dkt. No. 40.
2
  LR7.2 (“Motions without opposition and their proposed orders must bear in their caption ‘unopposed.’ They will
be considered as soon as it is practicable.”).
3
  Sierra Club v. FEMA, No. 4:07-cv-0608, 2007 WL 3472851, at *1–2 (S.D. Tex. Nov. 14, 2007) (Rosenthal, J.).
4
  Id.
5
  FED. R. APP. P. 29(a)(3).
6
  5TH CIR. R. 29.2.
7
  ERIC J. MAGNUSON & DAVID F. HERR, FEDERAL APPEALS JURISDICTION AND PRACTICE § 12:20 (Dec. 2020);
accord Neonatology Assocs., P.A. v. Comm'r, 293 F.3d 128, 133 (3d Cir. 2002) (Alito, J.).


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arguments of their own that bear upon the issues raised by the parties themselves.”8 When a

proposed amicus brief is helpful as outlined above, district courts will generally permit its filing.9

        Here, the Immigration Reform Law Institute proposes to strengthen Plaintiffs George P.

Bush’s and the Texas General Land Office’s arguments under the Take Care Clause.10 However,

amicus has already filed an amicus brief making substantially similar arguments and citing

substantially similar authorities.11 The Court already has the benefit of amicus’s views on the Take

Care Clause. The Court therefore does not find that yet another amicus brief will be helpful. The

Immigration Reform Law Institute’s motion to file an amicus brief is DENIED.12

        IT IS SO ORDERED.

        DONE at McAllen, Texas, this 7th day of February 2022.


                                                           __________________________________
                                                                       Micaela Alvarez
                                                                  United States District Judge




8
  Eldred v. Ashcroft, 255 F.3d 849, 852 (D.C. Cir. 2001) (Sentelle, J., dissenting).
9
  See Sierra Club, 2007 WL 3472851, at *2–3.
10
   Dkt. No. 40 at 3, ¶ 5.
11
   Compare Dkt. No. 40-1, with Missouri v. Biden, No. 7:20-cv-00420 (S.D. Tex. Nov. 22, 2021), Dkt. No. 27-1.
12
   Dkt. No. 40.


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